Case 0:21-cv-61028-RAR Document 1-2 Entered on FLSD Docket 05/16/2021
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IN THE CIRCUIT COURT OF THE SEVENTEENTH JUDICIAL CIRCUIT
IN AND FOR BROWARD COUNTY, FLORIDA

LEON HILBURN, individually,

 

- Plaintiff,
Case No.:
Vv.
WALMART INC., a foreign corporation;
Defendant. ~
/
COMPLAINT

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Plaintiff, LEON HILBURN (“Plaintiff”), individually, by and through the undersigned

attorney, seeks damages from Defendant, WALMART INC. (“WALMART”), and in support thereof

states the following:

1. . This in an action for damages exceeding Thirty Thousand Dollars, exclusive of

attorneys’ fees and costs and pre-judgment interest.

2. At all times material hereto, Plaintiff was, and is, a resident of Broward County,

Florida, over the age of eighteen, and otherwise sui juris.

3. At all times material hereto, WALMART was, and is, a foreign corporation

. conducting substantial and not isolated activities in Florida by virtue of owning and operating various

stores throughout the State, including the store (the “Subject Store”) located at 7900 W McNab Road,

North Lauderdale, Florida 33068.

4, Venue is proper in Broward County, Florida because the acts and/or omissions

giving rise to this action occurred in Broward County, Florida.

5. All conditions precedent to the bringing of this action have been complied with

and/or waived.

FACTUAL BACKGROUND

 

6. On November 18, 2017, Plaintiff was a lawful patron of the Subject Store.
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7. While walking through the Subject Store, Plaintiff was shopping in the produce
section when he slipped and fell on a rubber mat that had significant water underneath it (from a
refrigeration cooler).

8. Through information and belief, failures on the part of employees of
WALMART led to the accumulation of water underneath the mat.

9. As a direct and proximate result of Defendant’s failure to maintain a safe
premise, Plaintiff was injured in and about his body and extremities, suffered pain therefrom, incurred
medical expenses in the treatment of his injuries, and suffered physical handicap. These injuries are
either permanent or continuing in nature, and he will suffer losses and impairment in the future.

10. As a further direct and proximate result of the above-described acts and/or
omissions, Plaintiff suffered significant financial losses.

COUNT I
NEGLIGENCE as to WALMART

Plaintiff reaffirms and realleges the allegations contained in Paragraphs | through 10 as if fully
set forth herein.

ll. WALMART had a duty to the general public, including Plaintiff, to maintain
the Subject Store in a safe condition.

12. WALMART breached this duty by allowing water to accumulate under the
subject mat, and by failing to adequately inspect the premises.

13. Based on the time of day the incident occurred, WALMART knew, or should
have known, of this dangerous condition and faijed to do anything to remediate the condition.

14. As a direct and proximate result of Defendant’s negligent acts and/or
omissions, Plaintiff was injured in and about his body and extremities, suffered pain therefrom, incurred
medical expenses in the treatment of his injuries, and suffered physical handicap. These injuries are

either permanent or continuing in nature, and he will suffer losses and impairment in the future.
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15. As a further direct and proximate result of the above-described negligent acts

and/or omissions, Plaintiff suffered significant financial losses.

WHEREFORE, Plaintiff, LEON HILBURN, demands judgment against Defendant,

WALMART INC., for damages and for such other and further relief as this Court may deem just and

proper.

DEMAND FOR JURY TRIAL

Plaintiff, LEON HILBURN, demands a trial by jury as to all issues triable as of right by jury.

DESIGNATION OF PRIMARY AND SECONDARY E-MAIL ADDRESSES

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In accordance with Rule 2.515 of the Florida Rules of Judicial Administration, the undersigned

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counsel hereby designates the following as their primary and secondary e-mail addresses for service

of all paper in connection with the above-styled action:

James P. Gitkin, Esq. Primary E-mail: jim@salpetergitkin.com
Secondary E-mail: tina@salpetergitkin.com

Dated this 28th day of December, 2020.

Respectfully submitted,

SALPETER GITKIN, LLP
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/s/ James P. Gitkin
James P. Gitkin, Esq. (FBN: 570001)
